USDC IN/ND case 2:19-cv-00087-TLS-JPK document 38 filed 12/30/20 page 1 of 1



                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                  HAMMOND DIVISION

E.N., a minor, Individually and by her Guardians        )
and Next Friends, N.N. and T.N.,                        )
                                                        )
                                Plaintiff,              )
                                                        )
vs.                                                     ) CAUSE NO.: 2:19-cv-87
                                                        )
PORTAGE TOWNSHIP SCHOOLS,                               )
                                                        )
                                Defendant.              )

                   STIPULATION FOR DISMISSAL WITH PREJUDICE

        Comes now Defendant Portage Township Schools and Plaintiff E.N., a minor, Individually

and by her Guardians and Next Friends, N.N. and T.N., by their respective counsel, and inform the

Court that the matters in controversy between them have been amicably resolved and the parties

jointly stipulate to dismiss all allegations contained in this litigation, with prejudice, each party to

bear their respective costs and attorney fees.

                                        Respectfully submitted,

 /s/ C. Anthony Ashford                       /s/ Michael D. Sears
 C. Anthony Ashford (#19253-02)               Michael D. Sears (#2108-45)
 Meghann Chonowski (#35143-64)                Jacquelyn S. Pillar (#25051-64)
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 Attorneys for Plaintiff                      Attorneys for Defendant


                                  CERTIFICATE OF SERVICE

       I certify that on the 30th day of December, 2020, service of a complete copy of this filing was
made upon each party or attorney of record herein either via the ECF system or by depositing the
same in the United States Mail, first class mail, with sufficient postage affixed.

                                                 /s/ Michael D. Sears
                                                 CRIST, SEARS & ZIC, LLP
